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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )                     4:10CR3129
                                               )
               v.                              )
                                               )
JAMES P. MASAT,                                )          MEMORANDUM AND ORDER
                                               )
                      Defendant.               )

       Defendant Masat has moved to continue the pretrial motion deadline currently set for April
14, 2011. (Filing No. 33). Defendant Masat joins in the motion filed by defendant Levea (filing
no. 32), and explains additional time is needed to receive and review discovery before deciding if
pretrial motions should be filed. The court finds the motion should be granted.

       IT IS ORDERED:

       1)      Defendant Masat’s unopposed motion to continue, (filing no. 33), is granted and this
               defendant’s pretrial motions and briefs shall be filed on or before August 15, 2011.

       2)      Based upon the government’s showing at the time of the initial appearance regarding
               the volume of records involved in this case, and the representations in defendant
               Levea’s motion (filing no. 32) regarding the government’s difficulty in converting
               the discovery documents into a searchable electronic form, the court finds this case
               remains “unusual and complex,” and is exempted from the time restrictions of the
               Speedy Trial Act, 18 U.S.C. 3161(h)(7)(B)(ii) because it would be unreasonable for
               the court to require counsel and the parties to be ready for trial within such
               restrictions.


               DATED this 18th day of April, 2011.

                                              BY THE COURT:
                                              s/ Cheryl R. Zwart
                                              United States Magistrate Judge
